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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                                   Case Number 15-20462
v.                                                          Honorable David M. Lawson

CURTIS LEE WILLIAMS,

               Defendant.
                                             /

     AMENDED ORDER GRANTING MOTION FOR COMPASSIONATE RELEASE

       Before the Court is defendant Curtis Williams’s motion for compassionate release under

18 U.S.C. § 3582(c)(1)(A). Because the relevant factors favor Williams’s position, the Court will

grant the motion.

                                                 I.

       Defendant Curtis Williams pleaded guilty to one count of bank robbery, 18 U.S.C. §

2113(a), (d). On March 16, 2016, the Court sentenced him to 120 months in prison. He has served

just over 51 months or 42% of that term, and he presently is confined by the Bureau of Prisons at

FCI Gilmer in Glenville, West Virginia, a medium security facility that houses more than 1,400

inmates. Public records of the BOP indicate that the defendant is scheduled to be released from

prison on September 1, 2023.

       On January 27, 2020, Williams sent a letter to the Court requesting compassionate release

under 18 U.S.C. § 3582(c)(1)(A), as amended by the First Step Act of 2018. In his motion,

Williams asserted that he was qualified for release based on his age (68), and he also stated that

his release would allow him to care for his sisters, aged 69 and 74, whose health was declining.

He also stated that his incarceration had been particularly personally devastating because, shortly

after he was committed to prison, his son was murdered, and his daughter committed suicide. The
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Court appointed counsel and set deadlines for both sides to file supplemental briefs. The initial

letter did not indicate whether Williams had submitted a request for release to prison authorities,

but his supplement indicated that on February 23, 2020 he sent a letter to the warden seeking

compassionate release. See ECF No. 54-4. He apparently has not received a response.

       The most recent data disclosed by the BOP indicates that there are no active coronavirus

cases at the Gilmer facility, but six inmates previously infected have recovered. Reports indicate

that no inmates or staff have died. See https://www.bop.gov/coronavirus/.

                                                 II.

       As a general rule, “a federal court ‘may not modify a term of imprisonment once it has

been imposed.’” United States v. Alam, 960 F.3d 831, 832 (6th Cir. 2020) (quoting 18 U.S.C. §

3582(c)). “But that rule comes with a few exceptions, one of which permits compassionate

release.” Ibid. “The request may come through a motion in federal court filed by the Director of

the Bureau of Prisons. 18 U.S.C. § 3582(c)(1)(A). Or it may come through a motion filed by the

inmate after he has ‘fully exhausted all administrative rights to appeal a failure of the Bureau of

Prisons to bring a motion on the [prisoner]’s behalf’ or after ‘the lapse of 30 days from the receipt

of such a request by the warden of the [prisoner]’s facility, whichever is earlier.’” Ibid. (quoting

18 U.S.C. § 3582(c)(1)(A)).

       Upon a proper motion via either avenue, the Court may, “[a]fter ‘considering the factors

set forth in section 3553(a) . . . reduce the prisoner’s sentence if it finds that ‘extraordinary and

compelling reasons warrant such a reduction’ or if the ‘[prisoner] is at least 70 years of age,’ has

‘served at least 30 years,’ and meets certain other conditions.” Ibid. (quoting 18 U.S.C. §

3582(c)(1)(A)(i), (ii)). However, prisoners may not seek judicial relief before they have sought

release under this statute from the prison warden. “Even though [the] exhaustion requirement does




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not implicate [the Court’s] subject-matter jurisdiction, it remains a mandatory condition,” and “[i]f

the Director of the Bureau of Prisons does not move for compassionate release, a prisoner may

take his claim to court only by moving for it on his own behalf. To do that, he must fully exhaust

all administrative rights to appeal with the prison or wait 30 days after his first request to the

prison.” Id. at 833-34 (quotations omitted).

       Williams argues that compassionate release is warranted based on his family

circumstances, where release to home confinement would allow him to care for his elderly sisters

whose health is failing, and the risk to his own health posed by the ongoing coronavirus pandemic,

due to his age placing him in a recognized high risk category. The government opposes the motion,

citing William’s history of other bank robbery crimes, and pointing out that Williams does not

report any underlying health conditions, and the risk he faces at Gilmer is low because the BOP

has reported no active COVID-19 cases there. The government also contends that Williams did

not properly exhaust his request for release, because he did not articulate any argument based on

COVID-19 in his February letter to the warden.

                                          A. Exhaustion
       Williams’s request for release based on “extraordinary and compelling circumstances” was

exhausted properly under the circumstances presented here.

       First, the Court expressly ordered the parties to renew their briefing on the request for

release after the gravity of the circumstances surrounding the global pandemic became of general

concern. The order for renewed briefing was issued in May 13, 2020, after the threat of the

pandemic had resulted in drastic measures being taken by public authorities, including the closure

of the Court’s own public facilities, which remain inaccessible to the general public. See E.D.

Mich. Admin. Order 20-AO-038 (July 2, 2020). The most recent available figures indicate that,

far from abating, the spread of the COVID-19 disease rapidly has accelerated in most states,


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including in West Virginia, which reported a daily record high of 105 new cases on July 5, 2020.

See Daily Confirmed New Cases (WV): https://coronavirus.jhu.edu/data/new-cases-50-

states/west-virginia. In light of those particular concerns, which prompted the Court to appoint

counsel and direct renewed briefing, the supplement filed by counsel amounts to a refiled or

renewed motion for judicial review, and it is undisputed that the renewal of the motion was filed

well beyond the 30-day waiting period after the February administrative request.

       Second, federal courts confronted with the argument now raised by the government

generally have been skeptical of the notion that the statute imposes any requirement of “issue

exhaustion” on requests for compassionate release, or that a prisoner explicitly must mention the

pandemic as a basis of his administrative request, or else submit and exhaust a fresh request on

that ground — and wait yet another 30 days — before seeking judicial review. United States v.

Garner, No. 14-13, 2020 WL 3632482, at *3 & n.2 (S.D. Tex. July 3, 2020) (“This question of

‘issue exhaustion’ has not been addressed by the Fifth Circuit Court of Appeals, and it may well

be applicable in certain situations. However, the Court is not persuaded that it applies in this case,

primarily for the reasoning offered by the Government elsewhere in its response: COVID-19 does

not constitute an independent basis for . . . compassionate release.”) (collecting cases); see also

Miller v. United States, No. 16-20222, 2020 WL 1814084, at *2 (E.D. Mich. Apr. 9, 2020) (“[T]he

Government argues that Miller’s exhaustion should not be honored, because he did not specify

requesting release due to the COVID-19 outbreak. The Court finds this argument to be unfounded.

Miller, then and now, seeks release due to his myriad of serious health conditions. The COVID-

19 pandemic merely accentuates his meritorious claims for release.”).

       Here, the statutory ground for the request has not changed from when it first was submitted;

the defendant seeks now, as he did at the administrative level, release based on “extraordinary and




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compelling circumstances,” under the authority of 18 U.S.C. § 3582(c)(1)(A)(i). He described

several circumstances in his administrative petition that he felt were extraordinary and compelling.

He now advances others, which have arisen since the request first was tendered. But the underlying

authority and ground for the relief sought has not changed, and it would be inappropriate under

the circumstances to impose any further exhaustion requirement, which in any event is not

mandated in any plain terms of the statute. See Garner, No. 14-13, 2020 WL 3632482, at *3 (S.D.

Tex. July 3, 2020) (“Defendant has not changed the underlying basis of his request for . . .

compassionate release by this motion; to the contrary, he argues that COVID-19 renders him even

more medically vulnerable than before. In short, Defendant argues that the COVID-19 pandemic

increases his already-existing medical vulnerability, which he has already exhausted.”). The BOP

certainly well knew, and now knows, about the pandemic and the risks to inmates, as its published

reports and directives evidence. It has had more than ample time to act on the defendant’s February

request, having before it all of the pertinent information about both the defendant and the

circumstances that pose risks to his health. As one district court aptly observed:

       The statute does not require issue exhaustion as argued by the United States and
       even if the Court was inclined to impose that requirement, it would be futile. The
       Court is frustrated by the fact that the warden has apparently ignored the first
       request. There is nothing in the record to suggest a second request by Defendant
       would be treated in any other way. By ignoring these requests, the warden is
       inviting the Court’s involvement. This Court will accept that invitation. The
       COVID-19 pandemic requires action, and the Court is not willing to wait.

United States v. Dillard, No. 15-00170, 2020 WL 2564638, at *2 (D. Idaho Apr. 27, 2020).

       The defendant sufficiently presented his request for release to prison authorities, and he

has waited more than 30 days for a favorable response, which at this point is unlikely reasonably

to be expected. That is sufficient to satisfy the exhaustion requirement.




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                        B. Extraordinary and Compelling Circumstances

       The defendant has advanced sufficiently compelling circumstances to warrant a sentence

reduction based on his age, which places him at serious risk from COVID-19 infection, and his

personal circumstances. Contrary to the government’s position, his release does not pose a

sufficiently serious danger to the community to prohibit his release.

       Other courts have documented the devastating effect that the novel coronavirus has visited

upon society in general and the criminal justice system in particular. “The COVID-19 virus is

highly infectious and can be transmitted easily from person to person. COVID-19 fatality rates

increase with age and underlying health conditions such as cardiovascular disease, respiratory

disease, diabetes, and immune compromise.          If contracted, COVID-19 can cause severe

complications or death. Because there is no current vaccine, the Centers for Disease Control and

Prevention (‘CDC’) recommends preventative measures to decrease transmission such as physical

distancing, mask wearing, and increasing focus on personal hygiene such as additional hand

washing.” Wilson v. Williams, 961 F.3d 829, 833 (6th Cir. 2020). “The COVID-19 pandemic is

extraordinary and unprecedented in modern times in this nation. It presents a clear and present

danger to free society for reasons that need no elaboration.” United States of America v. Ortiz,

No. 16-439, 2020 WL 3640582, at *2 (S.D.N.Y. July 6, 2020).

       “[T]he crowded nature of federal detention centers presents an outsize risk that the COVID-

19 contagion, once it gains entry, will spread. And, realistically, a high-risk inmate who contracts

the virus while in prison will face challenges in caring for himself. For these reasons, in the past

months, numerous [federal] courts . . . have ordered the temporary release of inmates held in

pretrial or presentencing custody and, in more limited instances, the compassionate release of high-

risk inmates serving federal sentences.” Ibid. (collecting cases; footnotes omitted). It is widely

recognized and publicly acknowledged that persons who are over 65 years old, as the defendant


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is, face increased risk of severe consequences from potential COVID-19 infection. United States

v. Lassister, No. 17-232, 2020 WL 3639988, at *4 (D. Md. July 6, 2020) (“The risk factors include

age (over 65); lung disease; asthma; chronic kidney disease; serious heart disease; obesity;

diabetes; liver disease; and a compromised immune system.”) (citing Coronavirus Disease 2019

(COVID-19), People Who Are At Risk for Severe Illness, Centers for Disease Control &

Prevention (June 25, 2020), https://bit.ly/2WBcB16).

       The government’s position that the defendant is at low or no risk at FCI Gilmer merely

because of the absence of presently active (identified) cases of infection is not reassuring in the

context of the recent rapid acceleration of the pandemic among the public at large. Moreover, the

BOP’s admitted failure to implement any comprehensive prophylactic testing program calls into

question the undoubtedly optimistic figures that it has reported. Wilson, 961 F.3d at 849 (“The

flaws inherent in the half-measures employed by the BOP are amplified by the BOP’s inability to

test inmates for COVID-19. At the time of the preliminary injunction, the BOP had only obtained

75 tests for roughly 2,500 inmates at Elkton. The fact that more than two-thirds of those tests

came back positive suggests an extremely high infection rate, but the BOP’s testing shortage

ensured that the record would not reflect the precise figure.”) (Cole, Chief J., concurring); see also

United States v. Campbell, No. 03-4020, 2020 WL 3491569, at *9 (N.D. Iowa June 26, 2020) (“As

of June 23, 2020, no cases of COVID-19 at Yankton FPC had been reported. However, without

knowing whether the BOP is actively testing inmates and staff members for COVID-19 at Yankton

FPC, the lack of active confirmed cases does not mean COVID-19 is not present at the facility.

Nor does it mean there will not be a future outbreak at the facility. As the Government

acknowledges, despite extensive measures to prevent transmission, more federal inmates will

inevitably contract COVID-19 going forward.”). The government’s laudatory recounting of




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measures taken by BOP to address the pandemic also is less impressive in light of incidents such

as the Bureau’s ill-advised decision to transfer already infected inmates to FCI Gilmer for

quarantine, which resulted in an outbreak there, at a facility that previous had managed to hold the

disease at bay. See Times West Virginian (May 3, 2020) (“Four days after out-of-state inmates

were transferred to W.Va. for quarantine, the first coronavirus case was confirmed.”),

https://www.timeswv.com/covid-19/four-days-after-out-of-state-inmates-were-transferred-to-w-

va-for-quarantine-the/article_4d6d4ff6-8cdb-11ea-b700-b34865726b5b.html.

       The defendant has described sufficiently circumstances to suggest that extraordinary and

compelling circumstances warrant a sentence modification, based on the serious risk to his health

posed by the ongoing (and recently accelerating) coronavirus pandemic.

       Finally, it is fair to say that Williams “‘is not a danger to the safety of any other person or

to the community,’ as is required for compassionate release.” Lassister, No. 17-232, 2020 WL

3639988, at *2 n.1 (“Subsection (2) of U.S.S.G. § 1B1.13 establishes as a relevant factor that “the

defendant is not a danger to the safety of any other person or to the community, as provided in 18

U.S.C. § 3142(g).”). Although Williams is a repeat offender, it is notable that the robbery for

which he presently stands convicted was one of several, all of which involved the same coercive

subterfuge of a toy pistol. While that circumstance alone does not entirely abate the concern for

the community posed by his release, he has served a substantial portion of his custody term, and

he asks to be released under home confinement, which will mitigate any threat to the community

that he now may pose. While he certainly is not the most benign of offenders to come before the

Court, neither is he among the most nefarious. Moreover, he apparently has been compliant while

in prison and has made good progress in programming preparatory to his release, and his record

reflects only one apparently minor infraction for “phone abuse” and “disruption,” which was




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committed soon after his commitment in April 2016. See Progress Report dated Mar. 13, 2020,

ECF No. 54-3, PageID.219.

       The reduction of Williams’s custodial sentence, however, will carry with it a modification

of his supervised release term to address the deterrent and public-protection considerations of 18

U.S.C. § 3553(a). Williams’s re-integration into society should have a six-month buffer during

which he will confined to his home.

                                                III.

       The defendant has established that he is at serious risk in a facility with known

infections of COVID-19, and all of the other pertinent factors also weigh in favor of his release.

       Accordingly, it is ORDERED that the defendant’s motions for compassionate release

(ECF No. 49, 54) are GRANTED.

       It is further ORDERED that the defendant’s term of custody is REDUCED to time served.

Upon release, the defendant must self-quarantine for a period of two weeks. Thereafter, his term

of supervised release shall include a condition requiring him to be placed under home confinement

for a continuous period of 180 days.

                                                             s/David M. Lawson
                                                             DAVID M. LAWSON
                                                             United States District Judge

Dated: July 17, 2020




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